     Case 2:09-cr-00302-APG-PAL       Document 156    Filed 07/15/11   Page 1 of 4



1      GARY L. MYERS, ESQ.
       Nevada Bar No. 3120
2      LAW OFFICE OF GARY L. MYERS
       7251 W. Lake Mead Blvd., Suite 300
3      Las Vegas, Nevada 89128-8359
       Telephone: 702.240.1980
4      Facsimile: 702.240.1981
       Attorney for Defendant IGNACIO FLORES GARCIA
5

6                             UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA
8      UNITED STATES OF AMERICA,              )
                                              )
9                        Plaintiff,           )
                                              )   Case No.: 2:09-cr-00302-GMN-PAL
10                 vs.                        )
                                              )
11     JUAN CARLOS MACIAS-CHAVEZ,             )   MOTION TO EXTEND SURRENDER
        aka Juan Carlos Munguia               )   DATE, PERMIT TRAVEL OUTSIDE THE
12     JOSE ROSALLES,                         )   JURISDICTION AND TEMPORARILY
        aka Don Pancho,                       )   PROVIDE DEFENDANT WITH HIS
13     IGNACIO FLORES GARCIA,                 )   PASSPORT
                                              )
14                       Defendants.          )
15           Defendant IGNACIO FLORES-GARCIA by and through his attorney, Gary L.
16     Myers, Esq., hereby presents the following Motion to Extend Surrender Date,
17     Permit Travel Outside the Jurisdiction and Temporarily Provide Defendant With
18     His Passport.     This Motion is made and based upon the accompanying
19     memorandum of points and authorities, the pleadings and papers on file herein
20     and such argument and evidence as may be presented at the hearing on this
21     Motion, should any occur.
22           Dated:      July 14, 2011
                                              LAW OFFICE OF GARY L. MYERS
23
                                              By:______//s//_________________________
24                                                GARY L. MYERS, ESQ., #3120
                                                  7251 W. Lake Mead Blvd., Suite 300
25                                                Las Vegas, Nevada 89128-8359
                                                  Attorney for Defendant
26                                                 IGNACIO FLORES GARCIA
27     ///
28     ///



                                                  1
     Case 2:09-cr-00302-APG-PAL     Document 156    Filed 07/15/11   Page 2 of 4



1                      MEMORANDUM OF POINTS AND AUTHORITIES

2            Defendant IGNACIO FLORES-GARCIA was sentenced by this Court on June
3      23, 2011 to 48 months’ incarceration with a surrender date of September 26,
4      2011. The primary purpose of this motion is to allow Mr. Flores-Garcia to travel
5      to Mexico, specifically to the United States Consulate in Juarez, as part of
6      obtaining an immigrant visa for his son, Ruben German Garcia Castaneda.
7      Ruben is 19½ years old and is Ignacio’s son with his first wife, who resides in
8      Mexico.     Ignacio has begun the process of obtaining an immigrant visa for
9      Ruben, having submitted the necessary forms and very recently paying a $400 fee
10     to the National Visa Center. (See Exhibit A.) The next step in this process is for
11     Ignacio (if permitted by the Court) along with Ruben to present at the United
12     States Consulate in Juarez for an immigrant visa interview. This interview has
13     not yet been scheduled but based upon past experience, Mr. Flores-Garcia expects
14     that he will be notified within about six weeks when that interview will occur. To
15     the best of the undersigned’s knowledge, Mr. Flores-Garcia is the only person that
16     can perform this task (attending the interview) with Ruben, since he is both
17     Ruben’s father and a United States citizen.     Furthermore, there is a relatively
18     limited amount of time within which to perform this task since all necessary steps
19     must be completed before Ruben turns 21.        The undersigned’s understanding
20     further is that once Ruben turns 21 the opportunity to obtain an immigrant visa
21     with his father’s assistance or sponsorship will be lost or greatly delayed.
22     Therefore, this task must be accomplished before Ignacio’s surrender date or the
23     opportunity will be lost. The plan or arrangement that has been discussed with
24     Ruben is that if he obtains his immigrant visa he will come to Las Vegas and live
25     with Ignacio’s wife and daughter while Ignacio’s is incarcerated and assist the
26     family and provide financial support during his (Ignacio’s) incarceration. This may
27     well make what could be a very difficult financial situation for the family (during
28     Ignacio’s incarceration) much easier.



                                               2
     Case 2:09-cr-00302-APG-PAL       Document 156   Filed 07/15/11   Page 3 of 4



1            As the Court may recall, Ignacio undertook a trip to Juarez (permitted by
2      Stipulation and Order, document 96) in September of 2010 with his adopted
3      daughter, Stephanie Carrillo-Sanchez, for her immigrant visa interview.          Mr.
4      Flores-Garcia and Ruben may be able to complete the visa interview process prior
5      to the surrender date, but respectfully requests a 60-day extension on his
6      surrender date in order to be sure there is ample time. The $400 payment must
7      be processed by the National Visa Center, and thereafter it will notify Ignacio by
8      mail concerning the time frame for presenting at the U.S. Consulate. As noted
9      above, based upon his past experience (with his daughter), Ignacio estimates that
10     it will be about six weeks until he hears from the National Visa Center re the
11     scheduling of the interview.
12           Incidentally, Mr. Flores-Garcia forgot to discuss the matter which is the
13     subject of this motion with the undersigned prior to his sentencing, or this matter
14     would have been addressed with the Court at the sentencing hearing.
15           Finally, Mr. Flores-Garcia respectfully requests that Pretrial Services
16     temporarily provide him with his passport to permit this travel to and from
17     Mexico. Ignacio will promptly surrender the passport to Pretrial Services after his
18     return to the jurisdiction and also will comply with any conditions that Pretrial
19     Services or the Court may see fit to impose during his trip.
20           Dated:       July 14, 2011
                                              LAW OFFICE OF GARY L. MYERS
21

22
                                              By:______//s//_________________________
23                                                GARY L. MYERS, ESQ., #3120
                                                  7251 W. Lake Mead Blvd., Suite 300
24                                                Las Vegas, Nevada 89128-8359
                                                  Attorney for Defendant
25                                                 IGNACIO FLORES GARCIA
26

27

28



                                                3
Case 2:09-cr-00302-APG-PAL   Document 156   Filed 07/15/11   Page 4 of 4
